           Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 1 of 33




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


AMAZON.COM, INC., a Delaware
Corporation,
                        Plaintiff,
      vs.                                    Case No. _____________
KENNETH L. JONES III, an individual;
and PHATLOGIC, LLC, a Georgia
limited liability company,
                        Defendants.


                                     COMPLAINT

                                      INTRODUCTION

      1.      Amazon.com, Inc. is one of the most well-known and trusted brands in

the world. Defendants Kenneth L. Jones III and his company Phatlogic, LLC

(“Phatlogic”) operate an online advertising scheme that uses phony Amazon-

branded “survey” websites in order to generate fraudulent traffic to sell to online

advertisers. Defendants’ purported surveys—which do not collect responses—

infringe Amazon’s trademarks and make false claims about Defendants’ association

with Amazon.       This scheme harms Amazon, the advertisers who purchase

Defendants’ fraudulently generated traffic, and the numerous victims who visit

Defendants’ websites.



                                         1
           Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 2 of 33




      2.      The advertising scheme starts with messages sent to victims by affiliate

marketers, which are companies and individuals hired to generate traffic for

Defendants’ survey websites. The affiliate marketers’ messages entice victims to

click on a link that directs them to Defendants’ survey page. Among other tactics,

the messages often contain Amazon’s trademarks along with statements designed to

deceive victims into believing the messages were sent by Amazon.

      3.      When a victim clicks on the link in one of these messages, they are

redirected through an affiliate marketing network to Defendants’ survey website.

Defendants pay the affiliate network for this traffic. Defendants’ survey greets

victims as “Amazon Shopper” and uses Amazon’s trademarks to deceive victims as

to the survey’s origin. One example survey question is below:




                                          2
           Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 3 of 33




      4.      On the survey page, Defendants falsely claim that the victim was

“chosen to participate in a short, anonymous survey regarding your experiences with

Amazon” (emphasis in original). However, Defendants’ survey does not collect

answers from victims; it is not a survey at all. Its sole purpose is to generate victims

to sell to online advertisers.

      5.      After answering questions related to Amazon and its business,

Defendants refer victims to other websites to claim a “reward” or “offer” they

promised victims for completing the survey. However, there is no “reward” or

“offer.” Instead, Defendants sell the traffic to affiliate networks, which direct

victims to an advertiser’s website where victims can purchase a product that has no

affiliation with Amazon.

      6.      Amazon previously contacted Defendants regarding this unlawful

advertising scheme and requested they stop their activities. Defendants never

responded and have continued running their phony Amazon-branded surveys.

      7.      Amazon brings this lawsuit to stop Defendants’ unlawful scheme and

hold them accountable for the harm they continue to cause.




                                           3
           Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 4 of 33




                                          PARTIES

      8.      Amazon is a Delaware corporation with its principal place of business

in Seattle, Washington. Through its subsidiaries, Amazon owns and operates the

Amazon.com website and equivalent international websites.

      9.      Jones is an individual who resides in Atlanta, Georgia and owns

Phatlogic, LLC.      Jones owned, operated, and financially benefitted from the

unlawful scheme that abused Amazon’s brand and harmed Amazon’s customers.

Jones is directly liable to Amazon for the damages alleged in this Complaint.

Alternatively, Jones had the right and ability to supervise, direct, and control the

wrongful conduct alleged in this Complaint, and derived a direct financial benefit

from that wrongful conduct. As such, Jones is subject to liability for the wrongful

conduct alleged herein under principles of secondary liability, including, without

limitation, respondeat superior, vicarious liability, and/or contributory infringement.

      10.     Phatlogic is a Georgia limited liability company and, on information

and belief, has its principal place of business in Atlanta, Georgia. Phatlogic is owned

by Jones. Phatlogic is directly liable to Amazon for the damages alleged in this

Complaint, or alternatively, is secondarily liable to Amazon for these damages under

principles of secondary liability, including, without limitation, respondeat superior,

vicarious liability, and/or contributory liability.


                                            4
            Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 5 of 33




                              JURISDICTION AND VENUE

       11.     The Court has subject matter jurisdiction over Amazon’s claims for

trademark infringement (15 U.S.C. § 1114), violations of Section 43(a) of the

Lanham Act (15 U.S.C. § 1125(a)), and trademark dilution (15 U.S.C. § 1125(c))

pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a).

       12.     The Court has general personal jurisdiction over Defendants because,

on information and belief, they are residents in this District. Alternatively, the Court

has specific personal jurisdiction of Defendants because they transacted business

and committed tortious acts within this District, and Amazon’s claims arise from

those activities.

       13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because,

on information and belief, Defendants are residents of the Northern District of

Georgia and a substantial part of the events giving rise to the claims occurred in this

district.

                                           FACTS

       A.      Amazon is a Trusted Brand

       14.     Amazon is a highly-trusted brand, recognized by millions of consumers

throughout the world who use Amazon’s online stores to conveniently purchase a

wide array of products and services.


                                           5
         Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 6 of 33




      15.    In connection with its online stores, Amazon offers gift cards,

promotions, and a variety of services. One of Amazon’s most popular offerings is

Prime, which is a paid membership program that provides discounts on shipping and

free access to digital content (to name just two of Prime’s features).

      16.    Amazon sends customers messages via SMS and email in connection

with its products and services. As a result, Amazon’s customers have come to expect

to receive these types of communications from Amazon, to use Amazon’s services

online, and to interact with Amazon online.

      17.    Amazon’s products and services are readily identifiable to consumers

around the world because of the company’s substantial and years-long investment

of time, money, and other resources in Amazon’s brand, including the development

of valuable intellectual property.

      18.    Amazon exclusively owns numerous U.S. trademark registrations and

pending applications. These trademarks are a critical component of a consumer’s

ability to readily identify Amazon products and services.

      19.    As alleged in this Complaint, the following trademarks and service

marks (collectively “Amazon Trademarks”) were unlawfully used to further

Defendants’ scheme:




                                          6
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 7 of 33




                 Mark                Registration No. (International
                                                Classes)
         AMAZON                   2,657,226 (Int. Cl. 42)
                                  2,738,837 (Int. Cl. 38)
                                  2,738,838 (Int. Cl. 39)
                                  2,832,943 (Int. Cl. 35)
                                  2,857,590 (Int. Cl. 9)
                                  3,868,195 (Int. Cl. 45)
                                  4,171,964 (Int. Cl. 9)
                                  4,533,716 (Int. Cl. 2)
                                  4,656,529 (Int. Cl. 18)
                                  4,907,371 (Int. Cls. 35, 41, 42)
                                  5,102,687 (Int. Cl. 18)
                                  5,281,455 (Int. Cl. 36)

                                  4,171,965 (Int. Cl. 9)
                                  5,038,752 (Int. Cl. 25)


         PRIME                    5,218,535 (Int. Cl. 35)
                                  5,489,315 (Int. Cl. 42)
                                  5,218,536 (Int. Cl. 41)

      20.   The Amazon Trademarks have been used exclusively and continuously

by Amazon, and have never been abandoned. The above U.S. registrations for the

Amazon Trademarks are valid, subsisting, in full force and effect, and many are

incontestable pursuant to 15 U.S.C. § 1065. The registrations for the Amazon

Trademarks constitute prima facie evidence of their validity and of Amazon’s

exclusive right to use the Amazon Trademarks pursuant to 15 U.S.C. § 1057(b).




                                       7
           Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 8 of 33




      B.      Affiliate Marketing Abuse

      21.     A successful website requires internet “traffic,” which is a term used to

describe online visits to the website. Website traffic is akin to customers shopping

at physical retail stores. Just as brick-and-mortar stores need foot traffic to generate

sales, and similarly, websites need traffic in order to monetize the website through

sales and advertising revenues.

      22.     Affiliate marketing arose from the need to source relevant traffic for

websites. Broadly speaking, an affiliate publishes material to generate traffic on

behalf of an advertiser (i.e., the party who wants the traffic for their website).

      23.     An affiliate can source traffic through a variety of means, including,

relevant to this case, SMS (text) messages, emails, and websites that prompt users

to click through, such as online surveys.

      24.     The demand for traffic has spurred the growth of businesses that help

connect affiliates and advertisers. One example of this is an affiliate network, which

generally acts as an intermediary between the advertiser and the affiliates. In this

model, an advertiser approaches a single network, who then contracts with one or

more affiliates to provide traffic for the advertiser.

      25.     Affiliates use domains designed to redirect online consumers to another

domain. These redirect domains do not render content (such as a webpage of their


                                            8
            Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 9 of 33




own) and instead are generally invisible to consumers. When people click on links

in an affiliate’s email or webpage, they see only the final landing page, even though

they may have passed through multiple redirect domains along the way.

       26.     In one common form of affiliate abuse, affiliates generate traffic by

impersonating well-known brands such as Amazon. Affiliates exploit the brand’s

recognition with customers to entice people to click through to a third-party

advertiser’s website, often based on false promises of a reward or gift. The affiliate

is then paid for this fraudulent traffic.

       27.     The generation of traffic through the misuse of a brand’s intellectual

property harms the people who are deceived by the affiliate’s message or website,

the brands whose intellectual property is damaged by these fraudulent campaigns,

and the end advertiser who ultimately pays for the traffic.

       C.      Defendants’ Unlawful Affiliate Marketing Scheme

       28.     Defendants are engaged in a widespread, fraudulent marketing scheme

that abuses Amazon’s brand to generate traffic. Defendants profit from the scheme

by selling this fraudulently generated traffic to affiliate marketing networks, which

in turn sell the traffic to advertisers.

       29.     As explained below, Defendants’ scheme involves four main stages.

First, consumers receive emails and text messages sent by affiliate marketers that


                                            9
         Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 10 of 33




use Amazon’s brand and entice them to click a link in the messages. Second, the

affiliate marketers redirect traffic from these messages to affiliate networks, which

in turn direct those consumers to Defendants’ phony “survey” website. Third,

Defendants use the Amazon Trademarks and false statements to deceive their

victims into clicking through their purported survey. Fourth, Defendants sell traffic

from their survey to other affiliate networks, which in turn direct victims to websites

controlled by advertisers—which is how Defendants monetize the scheme.

             1.     Affiliate Marketers Send Victims Unauthorized Emails and
                    SMS Messages Using Amazon’s Trademarks

      30.    To source traffic, affiliate marketers send unauthorized emails and text

messages that display Amazon’s trademarks and make false statements to deceive

victims into believing the messages are affiliated with Amazon. The purpose of the

messages is to entice victims to click on a link in the message.

                           (a)       Emails

      31.    On information and belief, multiple affiliate marketers sent emails to

victims as part of Defendants’ scheme.

      32.    One of these emailers was an affiliate marketer named Ryan Becker. A

partial screenshot of one of Becker’s emails is below (with information redacted to

protect the recipient’s identity):



                                              10
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 11 of 33




      33.    A partial screenshot of another email sent as part of Defendants’

scheme is below (with information redacted to protect the recipients’ identities):




                                         11
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 12 of 33




      34.    Each of the emails above directed traffic to affiliate networks, which in

turn, directed traffic to Defendants’ websites.

      35.    The affiliate marketers’ emails are intentionally designed to appear as

though they originate with Amazon.

      36.    This deception starts with the “From” address displayed to the recipient.

The Amazon Trademarks appear in the email address displayed to victims, which in

                                          12
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 13 of 33




the above examples were “Prime Member” (primemember@) and “Amazon Survey”

(amazon.survey@).

      37.    The subject lines of the emails are also designed to deceive victims into

believing the messages originate with Amazon. The subject line from one of the

above examples was “Amazon has a surprise for you!” Another email contained the

misleading subject “Congrats on your Amazon Loyalty Voucher!”

      38.    The bodies of the emails continue to use the Amazon Trademarks and

other misleading statements and images. For example, the emails sent by Becker

start by displaying a counterfeit Amazon trademark. Below the Amazon mark, the

email thank the victim for their “recent Purchase on Amazon.” The email then

invites the victim to review their purchase and claims that the victim’s feedback

would help “customers pick the right products on Amazon.” The body of the email

concludes with the line “Thank you for shopping with Amazon, we appreciate your

feedback.” Becker’s emails even contained an alleged Amazon reference number,

titled “--AmazonReward--”, but that reference number was not genuine.

      39.    To further entice victims to click the links in these emails, the emails

often state that the victim is “just one click away to activate your $50 voucher,” or

that victims who “Take Our Survey” will “Win A Giftcard.” The affiliate marketers




                                         13
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 14 of 33




do not offer any victim a “voucher” or gift card, and they are not “one click away”

from a reward.

      40.    These Amazon-branded emails were not approved by or affiliated with

Amazon.

                          (b)       Text messages

      41.    In addition to emails, affiliate marketers also sent text messages to

generate traffic for this scheme.

      42.    A partial screenshot of one of these text messages is below (with

identifying information redacted):




      43.    Like the emails, these text messages are intentionally designed to

mislead victims into believing they originate with Amazon.

      44.    The text message—sent in early January—begins with “Amazon” and

purports to describe Amazon’s 2020 “resolutions.” The message then offers victims




                                           14
         Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 15 of 33




“$130 freebies for a survey” and provides a link. The affiliate marketer does not in

fact provide any victim $130 or “freebies.”

      45.    The text messages are not affiliated with or approved by Amazon.

      46.    These SMS messages have generated a number of online complaints

and security alerts, which demonstrates the sheer number of messages sent, and the

harm they caused.

             2.     Affiliate Marketers Refer Victims to Affiliate Networks

      47.    When a victim clicks the link contained in the affiliate marketer’s

message, the affiliate marketer redirects the victim to a domain controlled by an

affiliate network. The affiliate networks’ domains do not render content in the

victim’s browser, but serve to redirect traffic.

      48.    One of the affiliate networks that received traffic from the Amazon-

branded messages is Addicted Affiliate, LLC.

      49.    Other affiliate networks that received traffic from Amazon-branded

messages    used    the   redirect   domains       northou.com,   trixonesis.com,   and

messageadvantage.com.

             3.     Defendants Deceive Victims into Clicking Through a
                    “Survey” By Using Amazon’s Brand

      50.    The affiliate networks receiving traffic from the Amazon-branded

messages redirect victims to websites controlled by Defendants.

                                          15
         Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 16 of 33




      51.      One of the affiliate networks involved, Addicted Affiliate, identified

Jones and his company Phatlogic as the person who received traffic from emails in

this scheme.

      52.      On information and belief, Defendants paid the affiliate networks for

the referred victims pursuant to contracts between Defendants and the affiliate

networks.

      53.      Defendants use the domains ballerclick.com and, on information and

belief, multiplyintegers.com, to receive traffic from affiliate networks. Like the

affiliate network domains, these domains do not render content in the victim’s

browser, but serve to redirect traffic and collect data.

      54.      Defendants’ domain ballerclick.com is hosted with Choopa LLC. The

name on the account is Kenneth Jones and the email is bandit09@gmail.com—an

email address connected to Jones through multiple sources. The address on the

account is Jones’s home address. Communications produced by Choopa also show

Jones actively managing this hosting account.

      55.      After being referred through the affiliate networks’ and Defendants’

redirect domains, the victim arrives on Defendants’ survey page that heavily uses

Amazon’s brand. Defendants have created multiple versions of their survey page

and   used     numerous    domains    to   render   their   survey   page,   including


                                           16
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 17 of 33




globalsurveyscenter.com (hosted by Jones’s account at Choopa) and infinite-

surveys.com. True and correct screenshots of two versions of Defendants’ survey

page are attached to this Complaint as Exhibit 1 and Exhibit 2.

      56.    Defendants use Amazon’s brand on their websites to entice victims to

click on through the survey—which is how Defendants earn money from this

scheme. Amazon’s brand help legitimize Defendants’ surveys and increases the

likelihood that victims will click through.

      57.    When a victim first arrives on Defendants’ survey page, the victim sees

a greeting that addresses the victim as “Amazon Shopper.” The message invites the

victim to complete a survey “regarding your experience with Amazon” or “regarding

your opinion of Amazon” in order to get “exclusive rewards” or “an exclusive offer.”

Screenshots of two of Defendants’ greeting messages are below:

      [Image on the following page]




                                         17
       Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 18 of 33




     58.   After clicking “Start Survey,” victims are presented with a survey page

that contains a header using Amazon’s name and the words “Shopper Survey.”

Amazon is often written in lowercase letters (“amazon”) to mimic Amazon’s


                                      18
         Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 19 of 33




trademark. Defendants also often intentionally mimic Amazon’s designs and color

schemes, including Amazon’s navy blue banner heading and gold rectangular

buttons to indicate options victims can select.

      59.    Partial screenshots of two versions of Defendants’ survey page are

below:




                                         19
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 20 of 33




      60.   Defendants’ survey page leads victims through a series of questions that

further deceive victims into believing the survey originates with or is sponsored by

Amazon.

      61.   Defendants’ survey asks questions about shopping on Amazon such as,

“Are you an Amazon Prime Member?”; “Are the products you buy from Amazon

usually in-stock at the time of purchase?”; “What type of device do you most often

use to shop online?”; and “Have you seen any online advertisements for Amazon




                                        20
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 21 of 33




within the past week?” Defendants intentionally craft these questions to appear as

though they are collecting information for Amazon.

      62.    However, the survey is not affiliated with Amazon, the victims’

responses are not provided to Amazon, and Defendants do not actually collect or use

the responses. Rather, the purpose of the survey is merely to cause victims to click

through Defendants’ website.

      63.    Below Defendants’ survey questions in at least one version of their

survey is a message that states the website is “not affiliated with or endorsed by

Amazon” and that Defendants do not have a right to use the trademarks. This

disclaimer is in substantially smaller font than is used on the rest of the website.

      64.    The inclusion of this language demonstrates Defendants’ knowledge of

Amazon’s exclusive right to use the Amazon Trademarks, and admits that

Defendants lack any right or authority to use them. This purported disclaimer also

demonstrates that Defendants’ design, display, and use of the Amazon Trademarks

on their survey page is intentional and willful.

      65.    Notwithstanding Defendants’ ineffective disclaimer, the rest of the

survey page is expressly designed and intended to give victims the false impression

that it originates with, is affiliated with, or is sponsored by Amazon. It is also




                                          21
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 22 of 33




intentionally designed to deceive victims into believing that completing the survey

will lead to a reward.

             4.     Defendants Send Victims Who Complete the “Survey” to
                    Affiliate Networks and Advertisers
      66.    Upon completing the survey, victims are presented with a “Thank you”

message for their “participation.” Among other things, the message deceptively

states, “While we submit your answers, we are searching our inventory to see which

products we can offer you as a thank you for completing the survey” (emphasis in

original). As explained above, however, Defendants do not “submit” or even record

any victim’s answers. Like the other aspects of Defendants’ survey, this message is

intentionally designed to deceive victims into believing their survey responses are

providing feedback to Amazon.

      67.    Victims are then presented with a page where they supposedly claim

their “Reward” for completing the survey. Oftentimes, at the top of the page in bold

print, Defendants thanks victims for “completing the Amazon survey!”

      68.    The rewards page displays numerous products that are intentionally

designed to appear as Amazon product listings. Defendants present these products




                                        22
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 23 of 33




as free or heavily discounted “rewards.” Partial screenshots of two versions of this

page are below:




                                        23
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 24 of 33




      69.    None of the offers contained on Defendants’ rewards page is endorsed

by Amazon.

      70.    Similar to what happens after a victim clicked the link in the emails or

text messages, clicking one of Defendants’ “rewards” sends the victim through a

series of redirect domains.

      71.    Victims are first redirected to the domain fuegoclick.com, which is

controlled by Defendants.        On information and belief, Defendants use

                                         24
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 25 of 33




fuegoclick.com to track the number of victims who click through their survey and to

redirect victims to affiliate networks.

      72.    From fuegoclick.com, victims are redirected to various domains

controlled by affiliate networks. Each affiliate network then redirects the victim to

an advertiser where victims can “purchase” the product they selected on Defendants’

“reward” page.

      73.    On information and belief, these affiliate networks pay Defendants for

the traffic they refer to them. Four of the affiliate networks Defendants direct traffic

to are Express Revenue, Inc., Clickbooth.com, LLC, Traverse Data, Inc., and BDEX,

LLC. Clickbooth.com, LLC identified Jones and his company Phatlogic as the

person who sent traffic from the survey page in this scheme.

                                  CAUSES OF ACTION

                           FIRST CAUSE OF ACTION

                   Trademark Infringement (15 U.S.C. § 1114)

      74.    Amazon incorporates by reference the factual allegations contained in

Sections I–IV as though set forth herein.

      75.    Defendants’ activities infringe the Amazon Trademarks.

      76.    Amazon advertises, markets, and distributes its products and services

using the Amazon Trademarks, and it uses these trademarks to distinguish its


                                            25
            Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 26 of 33




products and services from the products and services of others in the same or related

fields.

          77.   Because of Amazon’s long, continuous, and exclusive use of the

Amazon Trademarks, they have come to mean, and are understood by customers,

users, and the public to signify, products and services from Amazon.

          78.   Defendants use the Amazon Trademarks in commerce in a manner that

is likely to cause confusion, mistake, or deception as to the source, origin, or

authenticity of their website.

          79.   Further, Defendants’ activities are likely to lead the public to conclude,

incorrectly, that Defendants’ website originates with or is authorized by Amazon,

thereby harming Amazon and the public.

          80.   At a minimum, Defendants acted with willful blindness to, or in

reckless disregard of, their authority to use the Amazon Trademarks and the

confusion that the use of those trademarks would have on consumers as to the source,

sponsorship, affiliation or approval by Amazon of Defendants’ website.

          81.   Defendants are subject to liability for the wrongful conduct alleged

herein, both directly and under various principles of secondary liability, including

without limitation, respondeat superior, vicarious liability, and/or contributory

infringement.


                                            26
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 27 of 33




      82.    As a result of Defendants’ wrongful conduct, Amazon is entitled to

recover its actual damages, Defendants’ profits attributable to the infringement, and

treble damages and attorney fees pursuant to 15 U.S.C. § 1117(a)–(b). The amount

of money due from Defendants to Amazon is unknown to Amazon and cannot be

ascertained without a detailed accounting by Defendants. Alternatively, Amazon is

entitled to statutory damages under 15 U.S.C. § 1117(c).

      83.    Amazon is further entitled to injunctive relief, as set forth in the Prayer

for Relief below. Amazon has no adequate remedy at law for Defendants’ wrongful

conduct because, among other things: (a) the Amazon Trademarks are unique and

valuable property; (b) Defendants’ infringement constitutes harm to Amazon’s

reputation and goodwill such that Amazon could not be made whole by any

monetary award; (c) if Defendants’ wrongful conduct is allowed to continue, the

public is likely to become further confused, mistaken, or deceived as to the source,

origin or authenticity of the infringing websites; and (d) Defendants’ wrongful

conduct, and the resulting harm to Amazon, is continuing.




                                          27
            Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 28 of 33




                           SECOND CAUSE OF ACTION

False Designation of Origin, Sponsorship, Approval, or Association and False
                      Advertising (15 U.S.C. § 1125(a))

          84.   Amazon incorporates by reference the factual allegations contained in

Sections I–IV as though set forth herein.

          85.   Amazon advertises, markets, and distributes its products and services

using the Amazon Trademarks, and it uses these trademarks to distinguish its

products and services from the products and services of others in the same or related

fields.

          86.   Because of Amazon’s long, continuous, and exclusive use of the

Amazon Trademarks, they have come to mean, and are understood by customers,

end users, and the public to signify, products and services from Amazon.

          87.   Amazon has also designed distinctive displays, logos, icons, and

graphic images (collectively, “Amazon designs”) for its websites.

          88.   Defendants’ wrongful conduct includes the use of the Amazon

Trademarks, imitation designs (specifically displays, logos, icons, and/or graphic

designs virtually indistinguishable from the Amazon designs), and false or

misleading description or representation of fact in connection with Defendants’

commercial marketing activities.




                                            28
           Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 29 of 33




      89.     Defendants’ activities deceive consumers. On information and belief,

Defendants’ wrongful conduct misleads and confuses users and the public as to the

origin and authenticity of the goods and services advertised, marketed, offered or

distributed in connection with Amazon’s trademarks, name, and imitation visual

designs, and wrongfully trades upon Amazon’s goodwill and business reputation.

      90.     Defendants’ acts constitute willful false statements in connection with

goods and/or services distributed in interstate commerce, in violation of 15 U.S.C. §

1125(a).

      91.     Defendants are subject to liability for the wrongful conduct alleged

herein, both directly and under various principles of secondary liability, including

without limitation, respondeat superior, vicarious liability, and/or contributory

infringement.

      92.     Amazon is further entitled to injunctive relief, as set forth in the Prayer

for Relief below. Defendants’ acts have caused irreparable injury to Amazon. The

injury to Amazon is and continues to be ongoing and irreparable. An award of

monetary damages cannot fully compensate Amazon for its injuries, and Amazon

lacks an adequate remedy at law.

      93.     As a result of Defendants’ wrongful conduct, Amazon is entitled to

recover its actual damages, Defendants’ profits, and treble damages and attorney


                                           29
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 30 of 33




fees pursuant to 15 U.S.C. § 1117(a)–(b).        The amount of money due from

Defendants to Amazon is unknown to Amazon and cannot be ascertained without a

detailed accounting by Defendants.

                          THIRD CAUSE OF ACTION

                    Trademark Dilution (15 U.S.C. § 1125(c))

      94.    Amazon incorporates by reference the factual allegations contained in

Sections I–IV as though set forth herein.

      95.    Amazon has exclusively and continuously promoted and used the

Amazon Trademarks.        As one of the world’s most well-known technology

companies, the Amazon Trademarks have become famous, distinctive and well-

known symbols of Amazon—well before the Defendants began using the Amazon

Trademarks in association with their goods or services unaffiliated with Amazon

through the Defendants’ illegal use and infringement of the Amazon Trademarks.

      96.    The actions of the Defendants including, but not limited to, their

unauthorized use of the Amazon Trademarks in commerce to deceive users into

believing Defendants’ websites are affiliated with Amazon are likely to cause

dilution of the Amazon Trademarks by blurring and tarnishment in violation of 15

U.S.C. § 1125(c).




                                            30
        Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 31 of 33




      97.    As a result of Defendants’ willful conduct, Amazon is entitled to

recover its actual damages, Defendants’ profits, and treble damages and attorney

fees pursuant to 15 U.S.C. § 1117(a).

      98.    Amazon is further entitled to injunctive relief, as set forth in the Prayer

for Relief below. Defendants’ acts have caused irreparable injury to Amazon. The

injury to Amazon is and continues to be ongoing and irreparable. An award of

monetary damages cannot fully compensate Amazon for its injuries, and Amazon

lacks an adequate remedy at law.

                                  PRAYER FOR RELIEF

      WHEREFORE, Amazon respectfully prays for the following relief:

      A.     That the Court enter judgment in Amazon’s favor on all claims;

      B.     That the Court issue an order permanently enjoining Defendants, their

officers, agents, representatives, employees, successors and assigns, and all others

in active concert or participation with them, from:

             (i)    Using the Amazon Trademarks in connection with any offer,

                    survey, commercial email, marketing campaign, or website;

             (ii)   Using any other indication of Amazon’s brand in connection

                    with any offer, survey, commercial email, marketing campaign,

                    or website;


                                          31
           Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 32 of 33




              (iii)   Making any statement of an affiliation or connection to Amazon

                      in connection with any offer, survey, commercial email,

                      marketing campaign, or website; or

              (iv)    Assisting, aiding or abetting any other person or business entity

                      in engaging or performing any of the activities referred to in

                      subparagraphs (i) through (iii) above;

      C.      That the Court enter an order requiring Defendants to provide Amazon

a full and complete accounting of all gross and net amounts earned in connection

with the scheme alleged in this Complaint;

      D.      That Defendants’ profits from the unlawful scheme alleged in this

Complaint be disgorged pursuant to 15 U.S.C. § 1117(a);

      E.      That Defendants be required to pay all general, special, actual, and

statutory damages which Amazon has sustained, or will sustain, as a consequence of

Defendants’ unlawful acts, and that such damages be enhanced, doubled, or trebled

as provided for by 15 U.S.C. § 1117(a)–(b), or otherwise allowed by law;

      F.      That Defendants be required to pay the costs of this action and

Amazon’s reasonable attorneys’ fees incurred in prosecuting this action, as provided

for by 15 U.S.C. § 1117 or otherwise by law; and




                                           32
           Case 1:20-cv-02338-AT Document 1 Filed 06/01/20 Page 33 of 33




        That the Court grant Amazon such other, further, and additional relief as the

Court deems just and equitable.



        DATED: June 1, 2020



                                        HOLLAND & KNIGHT LLP

                                        /s/ Caroline Johnson Tanner
                                        Caroline Johnson Tanner
                                        Georgia Bar No. 392580
                                        One Regions Plaza, Suite 1800
                                        1180 West Peachtree Street, N.W.
                                        Atlanta, GA 30309-3407
                                        (404) 817-8500
                                        (404) 881-0470 (Fax)
                                        caroline.tanner@hklaw.com
                                        DAVIS WRIGHT TREMAINE LLP
                                        Bonnie E. MacNaughton
                                        (pro hac vice forthcoming)
                                        Sara A. Fairchild
                                        (pro hac vice forthcoming)
                                        920 Fifth Avenue, Suite 3300
                                        Seattle, WA 98104
                                        (206) 622-3150
                                        (206) 757-7700 (Fax)
                                        bonniemacnaughton@dwt.com
                                        sarafairchild@dwt.com

                                        Meagan Himes
                                        (pro hac vice forthcoming)
                                        1300 SW Fifth Avenue, Suite 2400
                                        Portland, OR 97201
                                        (503) 241-2300
                                        (503) 778-5299 (Fax)
                                        meaganhimes@dwt.com

                                        Attorneys for Plaintiff Amazon.com, Inc.


                                          33
#74809598_v1
